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     16-12987-mdc   Doc5977-1
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   Approved by the Court this 4th day of            September       , 2019. However, the court
   retains discretion regarding entry of any further order.



                                          Chief U.S.   Bankruptcy Judge
                                                       Magdeline D. Coleman
